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                                                                                                  E-FILED
                                                                  Monday, 06 December, 2021 03:31:26 PM
                                                                             Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION


ERMA ROBINSON

Plaintiff
                                                        Case No. 21-2300
       v.

CVS HEALTH, INC. &                                   JURY DEMAND
CVS PHARMACY, INC.

Defendants

                                         COMPLAINT

       Now comes the Plaintiff, Erma Robinson, by Richard L. Steagall, her attorney,

and complaining of the Defendants, CVS Health, Inc and CVS Pharmacy, Inc., for her

claim for relief states:

                                               I.
                                    Jurisdiction & Venue

       1.      Jurisdiction is based upon diversity of citizenship under 28 U.S.C. § 1332.

               a.     Plaintiff is a citizen of the State of Illinois.

               b.     Defendant, CVS Health, Inc. is a corporation organized under the
                      laws of the State of Rhode Island with its principal place of business
                      in the State of Rhode Island.

               c.     Defendant CVS Pharmacy, Inc. is a corporation organized under
                      the laws of the State of Rhode Island with its principal place of
                      business in the State of Rhode Island.

The amount of controversy exclusive of interest and costs exceeds the sum of $75,000.



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       2.     Plaintiff is a resident of Vermillion County, Illinois, the occurrence

complained of occurred in Vermillion County, Illinois and the defendant corporations

conduct business within the Central District of Illinois. Venue is in the Urbana Division

of the Central District of Illinois under 28 U.S.C. § 1391 and Local Rule 40.

       3.     The occurrence complained of happened on December 5, 2019 at the CVS

Pharmacy, Inc. store located at 820 N. Vermillion Street in the City of Danville,

Vermillion County, Illinois, December 5, 2021 was a Sunday which extends the time for

filing to the next day that is not a Saturday, Sunday, or legal holiday Fed.R.Civ.Proc 6

(a)(1)C; 5 ILCS 70/1.11.

                                            II.
                                        The Parties

       4.     Plaintiff was at the time of the occurrence a 63 year old married lady (now

65) residing in Danville, Vermillion County, Illinois.

       5.     Defendant CVS Health Inc. is a holding company which conducts retail

pharmacy operations at various locations through its subsidiary corporation defendant,

CVS Pharmacy Inc. including the CVS Pharmacy Inc. at 820 N. Vermillion Street,

Danville, Illinois where this occurrence happened.

                                           III.
                                        The Events

       6.     Plaintiff entered the CVS Pharmacy Inc. store at 820 N. Vermillion Street,

Danville, Illinois to pick up a pharmacy prescription from the Pharmacy Department

located down an aisle at the rear of the store open to the public.


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          7.    The CVS store contained several circular metal plates which are at various

locations on the aisles of the store. The circular metal plate can be raised to allow

electric plugs to connect to an outlet and other devices contained below the covering

metal plate.

          8.    In order to perform maintenance, the circular metal plate covering the

electrical outlets and other devices located below the circular metal covering plate is

opened with the plate being unlocked and pulled upward.

          9.    The circular metal plate contained in the aisle to which access to the

pharmacy in the rear of the store had been opened for maintenance.

          10.   The circular metal covering plate had been opened and then partially

closed leaving approximately one quarter or less of space between the plate and its

place of closure. This made the opening difficult to see for customers walking down the

aisle.

          11.   Plaintiff while walking down the aisle with the partially openedd but

obscured circular metal covering plate and distracted by looking forward down the

aisle and att merchandise came into contact with the partially opened plate with her

foot.

          12    This caused plaintiff to fall forward to the tile floor of the aisle causing her

injury.

                                               IV.
                                             Claims

          13.   The defendant corporations, CVS Health, Inc. and CVS Pharmacy, Inc.,

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acting through their authorized agents in the scope of their agency negligently failed to

completely close the circular metal plate leaving a gap which customers could trip and

fall and failed to place of plastic yellow warning triangular device warning customers of

the partially open plate.

                                            V.
                                          Damages

       14.    As a direct and proximate result of the negligence of the agents of the

defendant corporations acting in the scope of their agency, plaintiff caught her foot in

the partially open plate causing her to fall directly to the aisle fracturing her clavicle in

two places and causing injury to the tibial plane of the knee of plaintiff; plaintiff was

required to spend monies for medical treatment of the injuries; she lost time from work

and earnings she would have made had it not been for the incident; plaintiff was

disabled and hindered in carrying out her ordinary affairs of life while under medical

treatment and permanently thereafter.

                                            VI.
                                      Prayer for Relief

       WHEREFORE, Plaintiff, Erma Robinson, prays for judgment in the amount of

FOUR HUNDRED FIFTY THOUSAND DOLLAR ($450,000) against the Defendants,

CVS Health, Inc. and CVS Pharmacy, Inc. plus costs of suit.

                            Plaintiff Demands a Trial by Jury




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                                             Respectfully submitted,

                                             s/ Richard L. Steagall
                                             RICHARD L. STEAGALL,
                                             Attorney for Plaintff




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